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                                             /s/ Corinne C. Heggie
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

NICHOLAS NAVARROLI,              )
on behalf of himself and all     )
others similarly situated,       )
                                 )
           Plaintiff,            )
                                 )
                                 )
V.                               )             CIVIL ACTION NO. 1:17-cv-05373
                                 )
LVNV FUNDING, LLC,               )             Judge. Robert M. Dow, Jr.
RESURGENT CAPITAL SERVICES, L.P.,)
ALEGIS GROUP, L.L.C., and        )
FIRSTSOURCE ADVANTAGE, L.L.C.,   )
                                 )
           Defendants.           )


SHABIH SIDDIQI,                            )
on behalf of himself and all               )
others similarly situated,                 )
                                           )
                Plaintiff,                 )
                                           )   CIVIL ACTION NO. 1:17-cv-06126
                                           )
V.                                         )   Judge Robert M. Dow, Jr.
                                           )   Magistrate Judge Mary M. Rowland
DYNAMIC RECOVERY SOLUTIONS,                )
LLC and PINNACLE CREDIT                    )
SERVICES, LLC,                             )
                                           )
                Defendants.                )


       FUNDING ADDENDUM TO CLASS ACTION SETTLEMENT AGREEMENT


        This is an addendum to the Class Action Settlement Agreement

(“Agreement”) in the above-captioned case.        Plaintiffs Nicholas Navarroli and

Shabih Siddiqi on the one hand, and Defendants LVNV Funding, LLC and

Pinnacle Credit Services, LLC (the “Funding Defendants”) on the other.
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        FUNDING ADDENDUM TO CLASS ACTION SETTLEMENT AGREEMENT
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